779 F.2d 52
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.LEONARD STEPHENS, Petitioner-Appellantvs.CALVIN EDWARDS, Respondent-Appellee.
    85-1067
    United States Court of Appeals, Sixth Circuit.
    10/18/85
    
      AFFIRMED
      E.D.Mich.
      ORDER
      BEFORE:  MARTIN and WELLFORD, Circuit Judges; and WEICK, Senior Circuit Judge.
    
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      The Court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be, and it hereby is, affirmed.
    
    